Case 2:18-cv-10417-RGK-AS Document 49-15 Filed 02/13/19 Page 1 of 5 Page ID #:231




                    EXHIBIT L
Case 2:18-cv-10417-RGK-AS Document 49-15 Filed 02/13/19 Page 2 of 5 Page ID #:232




            COPY OF E-FILE
           CORRESPONDENCE
             SR 1-7225814191
Case 2:18-cv-10417-RGK-AS Document 49-15 Filed 02/13/19 Page 3 of 5 Page ID #:233




                              Correspondence Activities Report




     SR 1-7225814191
     Activity Type: Email - Outbound
     Created on: 12/14/2018 9:13:00 PM
     Subject: Confirmation of Receipt
     Body:

     THIS IS AN AUTOMATED EMAIL - PLEASE DO NOT REPLY.


     Your Application and payment for the work The Dance by Alfonso Ribeiro -
     Variation A were received by the U.S.Copyright Office on 12/14/2018.


     PLEASE NOTE: Your submission is not complete until you upload or mail the
     material you are registering. To do so, logon
     to https://eco.copyright.gov/eService enu/ and click on case number
     1-7225814191 in the Open Cases table. Follow the instructions to either upload a
     digital copy or mail a physical copy (with shipping slip attached) of the work being
     registered. Additional instructions and requirements for submitting the material
     being registered can be found at http://www.copyright.gov/eco/tips/.


     SHIPPING SLIPS: If you mail physical copies of the material being registered, the
     effective date of registration will be based on the date on which we receive the
     copies WITH CORRESPONDING SHIPPING SLIPS ATTACHED.


     A printable copy of the application will be available within 24 hours by clicking the
     My Applications link in the left top most navigation menu of the Home screen.


     You may check the status of this claim via eCO using this number 1-7225814191.
     If you have questions or need assistance, Copyright Office contact information can
     be found at http://www.copyright.gov/help/index.html#general.


     United States Copyright Office
Case 2:18-cv-10417-RGK-AS Document 49-15 Filed 02/13/19 Page 4 of 5 Page ID #:234




    Activity Type: Email - Outbound
    Created on: 01/10/2019 10:25:00 PM
    Subject: Acknowledgement of Uploaded Deposit
    Body:
    THIS IS AN AUTOMATED EMAIL. PLEASE DO NOT REPLY. Thank you for
    submitting your registration claim using the Electronic Copyright Office (ECO)
    System. The following files were successfully uploaded for service request
    1-7225814191 File Name :alfonso_ribeiro_doing_the_carlton_on_dwts.mp4 File
    Size :57109635 KB Date/Time :1/10/2019 10:20:03 PM [THREAD ID: 1-3CY70MH]
    United States Copyright Office
Case 2:18-cv-10417-RGK-AS Document 49-15 Filed 02/13/19 Page 5 of 5 Page ID #:235




     Activity Type: Email - Outbound
     Created on: 01/17/2019 2:53:01 PM
     Attachment: Y
     Subject: U.S. Copyright Office Communication: The Dance by Alfonso Ribeiro -
     Variation A (1-7225814191)
     Body:
     Dear David Hecht: We are contacting you because your application for The Dance
     by Alfonso Ribeiro - Variation A (U.S. Copyright Office service request number
     1-7225814191) names Alfonso Ribeiro as the sole author of "choreography" and
     the deposit we received is footage from the nationally televised show, "Dancing
     With The Stars." Since Mr. Ribeiro performs a choreographic work with his
     professional dance partner, Witney Carson, and internet sources indicate that
     most of the professional dancers on this program create the choreography for their
     celebrity partner, we question whether the application names the correct author or
     authors for this work. See Compendium of U.S. Copyright Office Practices§ 309.2
     (3d. ed., 2017) (noting that the Office may take administrative notice of facts or
     matters known to the Office or the general public). Was Alfonso Ribeiro the sole
     author of the entire dance routine performed on the submitted excerpt of Dancing
     with the Stars as stated on the application? Further, because the footage
     deposited is a professional production aired on ABC, we question whether Mr.
     Alfonso and Ms. Carson's appearances, as well as any contributions made to the
     work deposited, were created under a work made for hire agreement. Under the
     law, when a work is made "for hire," the author is not the individual who actually
     created the work. Instead, the party that hired the individual(s) is considered both
     the author and the copyright owner of the work. For more information on works
     made for hire, please see the attached U.S. Copyright Office Circular 30, also
     available at https://www.copyright.gov/circs/circ30.pdf. To proceed, please reply
     with complete and accurate authorship information for the work deposited. Please
     note that accurate author and claimant information is required by statute. If you are
     unable to provide this information, we will be unable to proceed with this
     registration. Please note that if we do not receive a response to this message
     within 45 days, we will close this case without processing your registration or
     notifying you further. The fee is not refundable. When you reply, you must include
     the thread given below in the body of your message to ensure that your reply is
     connected to your case. Sincerely, Saskia Florence Supervisory Registration
     Specialist Performing Arts Division U.S. Copyright Office When replying to this
     email, please include the following thread id (entire line) within the body of your
     response to expedite routing to the correct office. [fHREAD ID:1-3DAOVE6]
